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                          UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT
                               OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
  Elisabeth A. Shumaker                                                           Chris Wolpert
  Clerk of Court                       February 14, 2018                     Chief Deputy Clerk




  Mr. Boston Henry Stanton Jr.
  Law Office of Boston H. Stanton, Jr.
  P.O. Box 200507
  Denver, CO 80220-0000

  RE:       18-1057, United States v. Castro-Cruz
            Dist/Ag docket: 1:17-CR-00334-CMA-1

  Dear Counsel:

  The court has received and docketed your appeal. Please note your case number above.
  Copies of the Tenth Circuit Rules, effective January 1, 2018, and the Federal Rules of
  Appellate Procedure, effective December 1, 2017, may be obtained by contacting this
  office or by visiting our website at http://www.ca10.uscourts.gov. In addition, please note
  all counsel are required to file pleadings via the court's Electronic Case Filing (ECF)
  system. You will find information regarding registering for and using ECF on the court's
  website. We invite you to contact us with any questions you may have about our
  operating procedures. Please note that all court forms are now available on the court's
  web site.

  Please note effective December 1, 2016 multiple important changes to the Federal Rules
  of Appellate Procedure took effect. The changes include new word length requirements
  for briefs and amendment of the "three-day service" rule. Please visit our website at
  http://www.ca10.uscourts.gov to familiarize yourself with these changes.

  Attorneys must complete and file an entry of appearance form within 14 days of the date
  of this letter. See 10th Cir. R. 46.1(A). Pro se parties must complete and file the form
  within thirty days of the date of this letter. An attorney who fails to enter an appearance
  within that time frame will be removed from the service list for this case, and there may
  be other ramifications under the rules. If an appellee does not wish to participate in the
  appeal, a notice of non-participation should be filed via ECF as soon as possible. The
  notice should also indicate whether counsel wishes to continue receiving notice or service
  of orders issued in the case.
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  Although attorneys who file a notice of appeal have technically entered an appearance,
  and may not withdraw without the court's permission, counsel must still file a separate
  entry of appearance form. For criminal appeals, please note the court will require trial
  counsel to continue the representation whether retained or appointed, until an order issues
  allowing withdrawal. This is the case even if you did not sign the notice of appeal. See
  10th Cir. R. 46.3(A). This initial continuity of counsel ensures that any criminal
  defendant who wishes to appeal has that appeal perfected.

  Generally, the court will not allow counsel to withdraw until an entry of appearance form
  and the docketing statement are filed. See 10th Cir. R. 46.3(A). If there is an issue
  regarding the defendant's eligibility for the appointment of counsel, an appropriate
  motion must be filed in the district court. Where this is the case, it may be appropriate to
  file a motion seeking to extend the time for filing the motion to appoint or withdraw
  under the court's Criminal Justice Act plan.

  You are required to file a docketing statement within 14 days of filing the notice of
  appeal. If you have not yet filed that pleading, you should do so within 14 days of the
  date of this letter. Please note that under 10th Cir. R. 3.4(B), the appellant is not limited
  to the issues identified in his docketing statement and may raise other appropriate issues
  in the opening brief.

  In addition to the docketing statement, all transcripts must be ordered within 14 days of
  the date of this letter. If no transcript is necessary, you must file a statement to that effect.

  As appointed counsel, you are required to file a designation of record with the district
  court. You must also file a copy with this court. Under 10th Cir. R. 10.2(A)(1), that
  designation must be filed within 14 days of filing the notice of appeal. If you have not
  done so already, you should file the designation immediately.

  In addition, and also within 14 days of filing the notice of appeal, all appointed counsel
  must file either a motion to continue the CJA appointment or a motion to withdraw. See
  10th Cir. R. 46.3(B). Any motion to withdraw must comply with 10th Cir. R. 46.4(A).

  Under 10th Cir. R. 10.2(A)(2), the government may file an additional designation within
  14 days after service of appellant's designation. Once that time passes, the district court
  will complete assembly of the record. The district court clerk will transmit the record to
  this court and will notify the parties. See Fed. R. App. P. 11(b)(2); 10th Cir. R. 11.2(A).

  The opening brief is due forty days after the appellate record is filed. See Fed. R. App. P.
  31(a)(1); see also 10th Cir. R. 31.1(A).

  Briefs must satisfy all requirements of the Federal Rules of Appellate Procedure and
  Tenth Circuit Rules with respect to form and content. See specifically Fed. R. App. P. 28
  and 32 and 10th Cir. R. 28.1, 28.2 and 32, as well as 31.3 when applicable. As applicable,
  we encourage all counsel to be familiar with 10th Cir. R. 46.4(B). Seven hard copies of
  briefs must be provided to the court within two days of filing via the court's Electronic
  Case Filing system. See 10th Cir. R. 31.5 and the court's CM/ECF User's Manual.
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  Counsel are encouraged to utilize the court's Briefing & Appendix checklist when
  compiling their briefs.

  Motions for extension of time to file briefs must comply with 10th Cir. R. 27.1 and 27.5.
  These motions are not favored.

  Thank you very much for your service to the court in your role as appointed counsel. If
  you are unfamiliar with the court's procedures or have questions, please call this office. In
  addition, you might also call the Appellate Division, created by the court to handle
  appeals circuit-wide, of the Office of the Federal Public Defender in Denver. That
  number is 303-294-7002. One of the appellate assistants will be happy to help you.

  Please contact this office if you have questions.

                                               Sincerely,



                                               Elisabeth A. Shumaker
                                               Clerk of the Court



  cc:       Bradley William Giles
            Barbara Skalla
            Guy Till



  EAS/sds




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